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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 8:20-cr-119-CEH-TGW
JAMES LEE CLARK
PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Karin
Hoppmann, Acting United States Attorney for the Middle District of Florida, and
the defendant, James Lee Clark, and the attorney for the defendant, Bjorn E.
Brunvand, mutually agree as follows:

A.  Particularized Texms
1. Counts Pleading To
The defendant shall enter a plea of guilty to Counts Seventeen and One
of the Indictment. Count Seventeen charges the defendant with wire fraud, in
violation of 18 U.S.C. § 1343. Count One charges the defendant with conspiracy to
commit bankruptcy fraud, in violation of 18 U.S.C. § 371.
2. Maximum Penalties
Count Seventeen carries a maximum sentence of 20 years of
imprisonment, a fine of $250,000, a term of supervised release of not more than three
years, and a special assessment of $100. Count One carries a maximum sentence of

five years of imprisonment, a fine of $250,000, a term of supervised release of not

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more than three years, and a special assessment of $100. With respect to certain

offenses, the Court shall order the defendant to make restitution to any victim of the

offense(s), and with respect to other offenses, the Court may order the defendant to

make restitution to any victim of the offense(s), or to the community, as set forth

below.

3. Elements of the Offenses

The defendant acknowledges understanding the nature and elements of

the offenses with which defendant has been charged and to which defendant is

pleading guilty. The elements of Count Seventeen are:

First:

Second:

Third:

Fourth:

the defendant knowingly devised or participated in a
scheme to defraud, or to obtain money or property by
using false pretenses, representations, or promises;

the false pretenses, representations, or promises were
about a material fact;

the defendant acted with the intent to defraud: and

the defendant transmitted or caused to be transmitted by
wire some communication in interstate commerce to help
carry out the scheme to defraud.

The elements of Count One are:

First:

Second:

Third:

two or more persons in some way agreed to try to
accomplish a shared and unlawful plan;

the defendant knew the unlawful purpose of the plan and
wilfully joined in it;

during the conspiracy, one of the conspirators knowingly

“engaged in at least one overt act as described in the

Indictment; and

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Fourth: the overt act was committed at or about the time alleged
and with the purpose of carrying out or accomplishing
some object of the conspiracy.

4. Counts Dismissed
At the time of sentencing, the remaining count(s) against the defendant,
Counts Two through Sixteen, will be dismissed pursuant to Fed. R. Crim. P.
11(c)(1)(A).
5. No Further Charges
If the Court accepts this plea agreement, the United States Attorney's
Office for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal! offenses known to the United States
Attomey’s Office at the time of the execution of this agreement, related to the
conduct giving rise to this plea agreement.
6. Mandatory Restitution to Victims of Offenses of Conviction
Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant agrees to make full

restitution to the following victims in at least the amounts reflected in this table:

 

 

 

 

 

 

 

 

Count Victim Loss Amount
Seventeen E.J. $25,000.00
One Federal National Mortgage Association $4,216.05
One Nationstar Mortgage $5,203.60
One US. Bank $8,438.25
One Bank of America $6,329.84
Total | $49,187.74

 

 

 

 

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7. Discretionary Restitution to Victims of Offense of Conviction
Pursuant to 18 U.S.C. § 3663(a) and (b), defendant agrees to make full

restitution to the following victims in at least the amounts reflected in this table:

 

 

 

 

 

 

Victim Additional Loss Amount
P.G. $946,764.00
EJ. $347,985.89
J.G. $150,000.00
Total $1 ,444,749.89

 

 

 

8. Guidelines Sentence—Joint Recommendation
Pursuant to the Fed. R. Crim. P. 11(c)(1)(B), the United States and the

defendant agree to jointly recommend to the Court that the defendant be sentenced
within the defendant’s applicable guideline range as determined by the Court
pursuant to the United States Sentencing Guidelines, as adjusted by any departure
the United States has agreed to recommend in this plea agreement. The parties
understand that such a joint recommendation is not binding on the Court and that, if
it is not accepted by this Court, neither the United States nor the defendant will be
allowed to withdraw from the plea agreement, and the defendant will not be allowed
to withdraw from the plea of guilty.

9. Two Offense Level—Joint Recommendati

 

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States and the
defendant agree to jointly recommend to the Court that the defendant’s Chapter Two

offense level be calculated, as set forth below, at 22 pursuant to USSG §2B1.1. The

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parties understand that such a joint recommendation is not binding on the Court,
and if not accepted by this Court, neither the United States nor the defendant will be
allowed to withdraw from the plea agreement, and the defendant will not be allowed

to withdraw from the plea of guilty.

 

 

 

 

 

 

 

 

 

 

 

 

Guideline Description Levels
USSG §2B1.1(a)(1) Base Offense 7
USSG §2B1.1(b)(1)(4)_‘| Loss Amount +14
USSG §2B1.1(b)(2)(A)_ | Victims +2
USSG §3B1.1(c) Role in Offense +2
USSG §3E1.1(b) Acceptance of Responsibility -3
Chapter3PatD | Counts Provisions Considered | °

Total Adjusted Offense Level 22

 

The defendant understands that this recommendation or request is not binding on
the Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the plea.

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7. Acceptance of Responsibility—Three Levels

 

At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will not oppose the defendant’s request to the Court that the defendant receive a two-

level downward adjustment for acceptance of responsibility, pursuant to USSG

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§3E1.1(a). The defendant understands that this recommendation or request is not
binding on the Court, and if not accepted by the Court, the defendant will not be
allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant’s offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG §3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit
referenced in Paragraph B.5., the United States agrees to file a motion pursuant to
USSG §3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely
with the United States Attorney for the Middle District of Florida, and the defendant
agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.

8. Low End

At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a sentence at the low end of
the applicable guideline range, as calculated by the Court. The defendant
understands that this recommendation or request is not binding on the Court, and if
not accepted by the Court, the defendant will not be allowed to withdraw from the

plea.

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9. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to forfeiture,
pursuant to 18 U.S.C. § 982(a)(2), whether in the possession or control of the United
States, the defendant or defendant’s nominees. The assets to be forfeited specifically
include, but are not limited to, the $25,000.00 in proceeds the defendant admits he
obtained as the result of the commission of the offense set forth in Count Seventeen
to which the defendant is pleading guilty. The defendant acknowledges and agrees
that: (1) the defendant obtained this amount as a result of the commission of the
offense(s), and (2) as a result of the acts and omissions of the defendant, the proceeds
have been transferred to third parties and cannot be located by the United States
upon the exercise of due diligence. Therefore, the defendant agrees that, pursuant to
21 U.S.C. § 853(p), the United States is entitled to forfeit any other property of the
defendant (substitute assets), up to the amount of proceeds the defendant obtained,
as the result of the offense(s) of conviction. The defendant further consents to, and
agrees not to oppose, any motion for substitute assets filed by the United States up to
the amount of proceeds obtained from commission of the offense(s) and consents to
the entry of the forfeiture order into the Treasury Offset Program. The defendant
agrees that forfeiture of substitute assets as authorized herein shall not be deemed an
alteration of the defendant’s sentence.

The defendant additionally agrees that since the criminal proceeds have

been transferred to third parties and cannot be located by the United States upon the

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exercise of due diligence, the preliminary and final orders of forfeiture should
authorize the United States Attorney’s Office to conduct discovery (including
depositions, interrogatories, requests for production of documents, and the issuance
of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal
Procedure, to help identify, locate, and forfeit substitute assets.

The defendant also agrees to waive all constitutional, statutory, and
procedural challenges (including direct appeal, habeas corpus, or any other means) to
any forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the forfeiture
of the property sought by the government. Pursuant to Rule 32.2(b)(4), the defendant
agrees that the preliminary order of forfeiture will satisfy the notice requirement and
will be final as to the defendant at the time it is entered. In the event the forfeiture is
omitted from the judgment, the defendant agrees that the forfeiture order may be
incorporated into the written judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and locate
all substitute assets and to transfer custody of such assets to the United States before
the defendant’s sentencing. To that end, the defendant agrees to make a full and

complete disclosure of all assets over which defendant exercises control, including all

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assets held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by the
defendant, and to consent to the release of the defendant's tax returns for the
previous five years. The defendant agrees to be interviewed by the government, prior
to and after sentencing, regarding such assets. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States. The
defendant agrees that Federal Rule of Criminal Procedure 11 and USSG §1B1.8 will
not protect from forfeiture assets disclosed by the defendant as part of the defendant's
cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to any substitute assets before the defendant's
sentencing. In addition to providing full and complete information about substitute
assets, these steps include, but are not limited to, the surrender of title, the signing of
a consent decree of forfeiture, and signing of any other documents necessary to
effectuate such transfers.

Forfeiture of the defendant’s assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be

found ineligible for a reduction in the Guidelines calculation for acceptance of

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responsibility and substantial assistance and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea agreement are
intended to, and will, survive the defendant, notwithstanding the abatement of any
underlying criminal conviction after the execution of this agreement. The
forfeitability of any particular property pursuant to this agreement shall be
determined as if the defendant had survived, and that determination shall be binding
upon defendant's heirs, successors and assigns until the agreed forfeiture, including

the forfeiture of any substitute assets, is final.

B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described in
18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as
to all counts charged, whether or not the defendant enters a plea of guilty to such
counts, and whether or not such counts are dismissed pursuant to this agreement.
The defendant further understands that compliance with any restitution payment
plan imposed by the Court in no way precludes the United States from
simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

§ 3003(b)(2)), including, but not limited to, garnishment and execution, pursuant to

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the Mandatory Victims Restitution Act, in order to ensure that the defendant's

restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure that this
obligation is satisfied, the Defendant agrees to deliver a cashier’s check, certified
check or money order to the Clerk of the Court in the amount of $200, payable to
“Clerk, U.S. District Court” within ten days of the change of plea hearing.

The defendant understands that this agreement imposes no limitation as
to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the defendant is
pleading provide(s) for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon conviction,
a defendant who is not a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the Court

and the United States Probation Office all information concerning the background,

character, and conduct of the defendant, to provide relevant factual information,

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including the totality of the defendant’s criminal activities, if any, not limited to the
count(s) to which defendant pleads, to respond to comments made by the defendant
or defendant’s counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if
any.
5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),
the defendant agrees to complete and submit to the United States Attorney’s Office
within 30 days of execution of this agreement an affidavit reflecting the defendant's
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in
which he has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant’s tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney’s
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant’s federal, state, and local tax returns, bank

records and any other financial information concerning the defendant, for the

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purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney’s Office to obtain current credit
reports in order to evaluate the defendant's ability to satisfy any financial obligation
imposed by the Court.

6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and acknowledges
that, although the parties are permitted to make recommendations and present
arguments to the Court, the sentence will be determined solely by the Court, with the
assistance of the United States Probation Office. Defendant further understands and
acknowledges that any discussions between defendant or defendant’s attorney and
the attorney or other agents for the government regarding any recommendations by
the government are not binding on the Court and that, should any recommendations
be rejected, defendant will not be permitted to withdraw defendant’s plea pursuant to
this plea agreement. The government expressly reserves the right to support and
defend any decision that the Court may make with regard to the defendant’s
sentence, whether or not such decision is consistent with the government’s

recommendations contained herein.

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7. Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant's sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant’s applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(¢a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
defendant’s cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in

 

camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant’s entry of a plea of guilty pursuant hereto.
10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant’s understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the
elements thereof, including the penalties provided by law, and defendant’s complete
satisfaction with the representation and advice received from defendant’s
undersigned counsel (if any). The defendant also understands that defendant has the
right to plead not guilty or to persist in that plea if it has already been made, and that
defendant has the right to be tried by a jury with the assistance of counsel, the right
to confront and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant’s defense; but, by pleading guilty,
defendant waives or gives up those rights and there will be no trial. The defendant

further understands that if defendant pleads guilty, the Court may ask defendant

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questions about the offense or offenses to which defendant pleaded, and if defendant

answers those questions under oath, on the record, and in the presence of counsel (if

any), defendant's answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will be
adjudicated guilty of the offenses to which defendant has pleaded and, if any of such
offenses are felonies, may thereby be deprived of certain rights, such as the right to
vote, to hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth below are
true, and were this case to go to trial, the United States would be able to prove those
specific facts and others beyond a reasonable doubt.
FACTS
Count Seventeen
Defendant James Lee Clark, an attorney licensed to practice law in Florida,
operated a law firm called Clark Law Group, PLLC in the Middle District of
Florida. As part of Clark’s law practice, he cultivated victim-clients who entrusted
him with their money for various purposes: (a) to hold clients’ money in interest
bearing trust accounts (“IOTA”), (b) to place clients’ money in trust accounts for
specified purposes such as to pay expenses, provide disbursements, or be secured for

trust beneficiaries, and (c) to act as trustee for trust accounts and administer said

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accounts. By purporting to provide these services, Clark gained access to the victim-
clients’ funds.

Clark maintained and controlled Jaw firm escrow and operating accounts as
well as revocable trust and irrevocable trust accounts at JP Morgan Chase Bank,
including, but not limited to: (1) Clark Law Group Interest on Trust Account
(“IOTA”) ending in xx1419, and (2) Clark Law Group operating account ending in
xx1079.

From in or around January 2012, through in or around February 2017, Clark
committed wire fraud. Specifically, Clark caused law firm clients, including victim-
client E.J., to transfer money to Clark to be placed in accounts, including IOTA and
other trust accounts, by means of false and fraudulent representations, including, but
not limited to, that (1) clients’ money would be secured in trust accounts; (2)
beneficiaries of the trust accounts would receive disbursements of money in
accordance with the intent and purpose of the trusts; and (3) money held in trust
accounts would be used to pay tax liabilities and be available to beneficiaries for
other purposes. After victim-clients, including victim E.J., had transferred funds to
Clark, he diverted money from the IOTA and trust accounts, without his clients’
knowledge or authorization, and transferred the funds into other accounts he
controlled for his own personal enrichment. After diverting the victim-clients’ funds,
Clark provided E.J. and other victim-clients with false and fraudulent explanations
as to why he could not disburse money from their trust accounts to them or for their

benefit.

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On May 24, 2016, in connection with this fraud scheme, Clark caused the wire
transfer of $25,000.00 of victim-client E.J.’s medical malpractice settlement funds
from the Clark Law Group JP Morgan Chase IOTA account ending in xx1419 under
his control to the Clark Law Group JP Morgan Chase operating account ending in
xx1079 under his control. In so doing, Clark caused data-to cross state lines—that is,
the data underlying the fraudulent transfer initiated by Clark was sent from a
computer server in Tampa, Florida and the data was received by JP Morgan Chase
servers located in Wilmington, Delaware. Clark used the funds for his personal
enrichment, without victim-client E.J.’s knowledge or consent.

The losses suffered by the victim-clients, including the total loss suffered by
victim-client E.J., as a result of Clark’s wire fraud scheme amount to at least

$1,469,749.89 as set forth below:

 

 

 

 

 

 

 

 

Victim Monetary Loss
P.G. $946,764.00
EJ. $372,985.89
J.G. $150,000.00

Count

From in or around January 2010, through in or around February 2017, Clark
and his para-professional employee and co-conspirator, Eric Liebman, conspired to
commit bankruptcy fraud, that is, they agreed to defraud creditors holding mortgage
notes, as well as the Federal National Mortgage Association (“Fannie Mae”) which

was guaranteeing mortgage notes, by preparing and filing false and fraudulent

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bankruptcy petitions under Title 11 of the United States Code. They did so to prevent
the mortgage creditors from lawfully foreclosing on real properties, to conceal their
scheme to defraud, and for their own personal enrichment.

| Clark solicited distressed homeowners, received referrals from other attorneys
associated with the distressed homeowners, or contacted distressed homeowners
offering to provide foreclosure rescue program services to save their homes from
foreclosure. Clark represented these distressed homeowners in state foreclosure
actions filed by mortgage creditors.

Clark and co-conspirator Liebman fraudulently represented to the distressed
homeowners that in exchange for executing quitclaim or warranty deeds for their
properties to Liebman’s entity, Florida Recovery Property Solutions, LLC (“FRPS”),
as trustee under a Florida Land Trust, they would negotiate with the mortgage
creditors to obtain the mortgage notes for their homes or renegotiate the mortgage
notes with the creditors and prevent foreclosure. Clark and co-conspirator Liebman
subsequently recorded or caused to be recorded the quitclaim or warranty deeds
executed in favor of FRPS.

In contrast to these representations and promises, Clark generally did not
make any effort to negotiate with the mortgage creditors to save the distressed
homeowners from foreclosure or to renegotiate the mortgage notes. In fact, he often
abandoned his representation of the distressed homeowners in the mortgage

creditors’ state court foreclosure actions, resulting in largely unopposed

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continuations of foreclosure proceedings by the mortgage creditors to obtain final
judgments of foreclosure.

What Clark did do was prevent creditors from lawfully foreclosing on the
distressed homeowners’ properties by preparing or causing to be prepared, and filing
or causing to be filed, fraudulent bankruptcy petitions in the names of the distressed
homeowners or third-party lessees of the subject homes. The purpose of these
bankruptcy petitions was to invoke the automatic stay provision of the federal
bankruptcy law to halt the foreclosure proceedings in order to allow Clark and co-
conspirator Liebman time to collect ill-gotten rental income and/or legal fees
associated with the preparation and filing of the petitions.

After filing fraudulent bankruptcy petitions, Clark prepared and filed
Suggestions of Bankruptcy with the Clerk of Court, Hillsborough County, Florida, or
the Clerk of Court, Pasco County, Florida in order to further stall the lawful
foreclosure proceedings. Clark and co-conspirator Liebman had no intention of
pursuing these sham bankruptcy petitions, which ultimately were dismissed for
deficient filings or failure to attend mandatory hearings. In some instances, Clark
even prepared and filed subsequent fraudulent bankruptcy petitions in the distressed
homeowners’ or third-party lessees’ names to further forestall lawful foreclosures and
evictions in order to keep collecting ill-gotten rent from the properties and/or legal
fees.

One example of Clark’s participation in the bankruptcy fraud conspiracy

involved a property located at 6841 Marylou Lane, Wesley Chapel, Florida. On

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November 2, 2011, Clark filed Defendant’s Motion to Participate in Circuit Civil
Mediation as attorney of record for distressed homeowners J.C. and T.C. ina state
foreclosure action filed by creditor GMAC Mortgage and guaranteed by Fannie
Mae, Case No. 2010-CA-000736, in the Circuit Court of the Sixth Judicial Circuit in
and for Pasco County, Florida. On or about June 29, 2013, co-conspirator Liebman
caused J.C. to execute a Warranty Deed in favor of FRPS as Trustee for the Mary
Lou Lane Land Trust Numbered 00102. In July 2013, co-conspirator Liebman
solicited $.B. and K.B. to purchase the property located at 6841 Marylou Lane,
Wesley Chapel, Florida and $.B. to execute a Real Estate Contract for Purchase and
Sale for the property. Subsequently, co-conspirator Liebman caused T.C. to execute
a Warranty Deed in favor of FRPS as Trustee for the Mary Lou Lane Land Trust
Numbered 00102.

On May 26, 2015, Clark prepared and filed a bankruptcy petition in the name
of K.B, (Case No. 8:15-05421) with the United States Bankruptcy Court for the
Middle District of Florida, Tampa Division to prevent GMAC Mortgage/Fannie
Mae from lawfully foreclosing on the property located at 6841 Marylou Lane,
Wesley Chapel, Florida. Clark acted to stall the foreclosure so he and co-conspirator
Liebman could collect proceeds from the sale of the residence from S.B. and K.B.

The total amount of loss suffered by each victim of the conspiracy to commit

bankruptcy fraud is at least $24,187.84, as set forth below:

Defendant's Initials ex 21
 

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Victim Creditor Monetary Loss
Fannie Mae $4,216.05
Nationstar Mortgage $5,203.60
U.S. Bank $8,438.35
Bank of America $6,329.84
Total $24,187.84

 

 

 

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the
defendant or defendant’s attorney with regard to such guilty plea.

13. Certification

The defendant and defendant’s counsel certify that this plea agreement

has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms.

“
DATED this 27 day of Uae 2021.
KARIN HOPPMANN

 
   

 

 

 

Lee Clark
fendant Special Assistant United States Attorney
ian I Lyf
Bjorn E. Brunvand ay’ ay Trezevant
Attomey for Defendant Assistant United States wet

Chief, Economic Crimes Section

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